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NON-DISCLOSURE AGREEMENT
Between
Melinda Smith
And
Atlas North America, LLC

Agreement #ND190515
21 May 2015
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Non-Disclosure Agreement Agreement No. ND190515
Melinda Smith and 21 May 2015
Atlas North America

This Agreement between Melinda Smith of 3495 Lisburne Lane, Ordinary, VA 23131
(hereinafter “Melinda Smith”), and Atlas North America, LLC, incorporated in the state of
Delaware having its principal place of business at 208 Golden Oak Court, Suite 415, Virginia
Beach, VA 23452 (hereinafter “Atlas NA” ) (each of “Melinda Smith” and “Atlas NA”)
sometimes referred to hereinafter as a “Party” and collectively as the “Parties”) shall become
effective on such date as both parties have signed this Agreement.

The Parties agree as follows:

1. GENERAL

The parties, for their mutual benefit, desire the disclosure to each other of Proprietary
Information related to marine products for the purpose of exploring business possibilities. The
party receiving Proprietary Information hereunder is referred to as Recipient; the party disclosing
Proprietary Information hereunder is referred to as Discloser. Parties may be both a Recipient
and a Discloser.

2. PROPRIETARY INFORMATION

2.1 The term "Proprietary Information" as used herein shall mean all documents, data and
information (i) that are designated by the disclosing Party, in writing, or by an appropriate stamp
or legend, to be non-public and of a proprietary or confidential nature, or (ii) that are orally
submitted and identified as proprietary by the disclosing party, provided the disclosing Party
notifies the receiving Party, in writing, specifically identifying any such Proprietary Information
so orally submitted within thirty (30) days of the oral disclosure.

2.2 The Parties agree to keep in confidence and prevent the disclosure of Proprietary
Information in whole or in part to (i) any person outside of their organizations, and (ii) any
person within their own organizations not having a “need to know” for the purpose of this
Agreement set forth in Paragraph 1.

2.3. Notwithstanding the foregoing, neither Party shall be liable for disclosure or use of any
Proprietary Information received from the other Party, if the Information was:

(a) In the public domain at the time it was disclosed, or thereafter entered the public
domain through no fault of the receiving Party; or

(b) | Known by the receiving Party at the time of transmittal by the disclosing Party to
the receiving Party, or thereafter became known by the receiving Party, from
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sources independent of either of the Parties hereto and not under obligation of
confidence to the disclosing Party; or

(c) Disclosed or used by the receiving Party with the advance written approval of the
disclosing Party; or

(d) Independently developed or known by the receiving Party; or

(e) Disclosed or used by the receiving Party after seven (7) years have elapsed from
the date of first disclosure to the receiving Party.

2.4 The Parties agree to use Proprietary Information received under this Agreement solely for
the purpose set forth in Paragraph 1 of this Agreement, and to transmit this Information only to
their employees or other representatives who have a “need-to-know” and have been informed of
the proprietary or confidential nature of the Information and the obligations under this
Agreement.

2.5 The following individuals are designated by the Party named as the only points of contact
for transmittal and receipt of Proprietary Information under this Agreement:

Melinda Smith: Melinda Smith
Atlas NA: Martin Wilcox, Sergio Diehl, Andy Culbreath

The use of any other points of contact is a violation of this Agreement. However, it will not
affect the proprietary status of Proprietary Information for the applicability thereto of the
provisions of this Agreement. Either Party may change its designated points of contact by
advance written notice to the other Party.

2.6 All Proprietary Information furnished hereunder shall remain the property of the
disclosing Party and shall be returned to it or destroyed promptly at its request, together with all
copies made thereof by the receiving Party hereunder. Upon request, the receiving Party shall
send the disclosing Party a destruction certificate.

2.7 All Proprietary Information is furnished by the disclosing Party without any warranty,
express or implied, as to the accuracy or completeness of the Proprietary Information.

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3. RELATIONSHIP OF THE PARTIES

3.1 Nothing in this Agreement shall grant or imply the right of either Party to commit the
other Party for any obligations or to act as agent for the other Party, or otherwise, on its behalf.

3.2 Nothing in this Agreement shall be construed as an obligation on the part of either Party
to refrain from engaging at any time in the same or any business similar or dissimilar to the
business in which the other is now engaged.

4. ANNOUNCEMENTS

Either Party shall obtain written approval from the other Party prior to any private or
public disclosure of the existence or terms of this Agreement or of the association, if any,
represented by, or arising from, this Agreement.

5. PERIOD OF AGREEMENT

Except for the provisions of the paragraph entitled “PROPRIETARY INFORMATION,"
this Agreement shall terminate on 21 May 2016 unless extended by mutual agreement.

6. GOVERNING LAW AND JURISDICTION DISPUTE

Governing Law: This Agreement shail be governed by and construed in accordance with
the laws of the State of Virginia.

Jurisdiction: The parties hereby submit to the jurisdiction of the State of Virginia, and
each of the parties consents to the jurisdiction of such courts (and of the appropriate appellate
courts) in any such action or proceeding and waives any objection to venue laid therein.

7. NOTICES

All written notices hereunder shall be addressed to the Parties indicated below or as directed
in subsequent written notices:

Melinda Smith: Melinda Smith
3495 Lisburne Lane
Ordinary, VA 23131

Attn: Melinda Smith

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Phone: 804-815-3345
Fax:
Email:

Atlas NA: Atlas North America, LLC
208 Golden Oak Court, Suite 415
Virginia Beach, VA 23452
Attention: Cynthia Moye, Contracts Manager
Telephone: 757.463.0670, ext 105
Fax: 757.463.0673
Email: cindy.moye@na-atlas.com

8. NO LICENSE

No license under any patents is granted or conveyed by the disclosing Party to the
receiving Party hereunder, nor shall the furnishing of Information constitute any representation,
warranty, assurance, guaranty or inducement by the disclosing Party to the receiving Party with
respect to infringement of patent or other rights of others.

9. MISCELLANEOUS

9.1 AMENDMENTS. This Agreement shall not be amended unless set forth in a document
executed by duly authorized representatives of the Parties.

9.2 WAIVER. No cancellation, modification, amendment, deletion, addition, or other
change in this Agreement or any provision hereof, or waiver of any right or remedy herein, shall
be effective for any purpose unless specifically set forth in a writing signed by the Party to be
bound thereby. No waiver of any right or remedy in respect of any occurrence or event on one
occasion shall be deemed a waiver of such right or remedy in respect of such occurrence or event
on any other occasion.

9.3. HEADINGS. The section, paragraph, and sub-paragraph headings herein are for
convenience only and shall not limit in any way the scope of any provisions of this Agreement.

9.4 COUNTERPARTS. This Agreement may be executed in several counterparts, each of
which shall be deemed to be an original, and all such counterparts together shall constitute but
one and the same instrument.
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9.5 | ENTIRE AGREEMENT. This Agreement constitutes the entire understanding and
agreement of and between the Parties with respect to the subject matter hereof and supersedes
any and all prior understandings and agreements, oral and written, relating hereto. It shall not be
varied by any oral agreements or representation or otherwise.

9.6 EXPENSES. Nothing in this Agreement requires the payment of fees nor
reimbursement for expenses. If such payment and/or reimbursement is required for any activity,
the terms and conditions shall be mutually agreed by both Parties at the time needed by
amendment to this Agreement or in a separate agreement stating the obligations for payment.

9.7. COMPLIANCE WITH EXPORT/IMPORT LAWS. Any Proprietary Information whose
export is subject to an export and/or import license, or other controls, such as the U.S.
Government Export Administration Regulations (EAR) and/or the International Traffic in Arms
Regulations (ITAR), shall be identified and marked in writing as such by the Discloser at the
time of disclosure and the disclosure, protection, use and handling thereof, shall remain subject
to and in accordance with the applicable laws and regulations.

10. EXECUTION

IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date on
which both Parties have affixed their signatures hereto.

Melinda Smith: . co
Ndurte Dawa)
Signature: Ny

Name: Me Ada Aw

Title:

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Date: XO Nou AZO \5
Atlas North America, LLC

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OU=VA, ousBusiness Operations and
red Offictal, crsAdrian

Signature: Culbreath Cle air O85

Name: Adrian Culbreath
Title: VP Business Operations
Date: _20 May 2015

